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                                                             • JAMES N. HATTEN, Clerk
               IN THE UNITED STATES DISTRICT COURT ~ e p u t y C l e r k
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


  UNITED STATES OF AMERICA
                                        Criminal Action No.
        V.
                                        1 :19-CR-439-MLB-JKL
  NNAMDI MGBODILE


                             VERDICT FORM

  As to Count One of the Indictment, Bank Fraud, we, the jury; unanimously

find Defendant NNAMDI MGBODILE

                       ✓
                    Guilty                  Not Guilty

  As to Count Two of the Indictment, Bank Fraud, we, the jury, unanimously

find Defendant NNAMD✓DILE


                    Guilty                  Not Guilty

  As to Count Three of the Indictment, Money Laundering, we, the jury,

unanimously find Defen✓AMDI MGBODILE


                    Guilty                  Not Guilty
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  As to Count Four of the Indictment, Money Laundering, we, the jury,

unanimously find Defen~/AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Five of the Indictment, Money Laundering, we, the jury,

unarumously find Defenda/DI MGBODILE


                    Guilty                  Not Guilty

  As to Count Six of the Indictment, Money Laundering, we, the jury,

unanimously find Defend7AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Seven of the Indictment, Money Laundering, we, the jury,

unanimously find Defen7AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Eight of the Indictment, Money Laundering, we, the jury,

unanimously find Defen/AMDI MGBODILE


                    Guilty                  Not Guilty
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  As to Count Nine of the Indictment, Money Laundering, we, the jury,

unanimously find Defendant NNAMDI MGBODILE
                       /
                    Guilty                  Not Guilty

  As to Count Ten of the Indictment, Money Laundering, we, the jury,

unanimously find Defendant NNAMDI MGBODILE
                      J
                    Guilty                  Not Guilty

  As to Count Eleven of the Indictment, Money Laundering, we, the jury,

unanimously find Defend/AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Twelve of the Indictment, Money Laundering, we, the jury,

unartimously find Defen/AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Thirteen of the Indictment, Money Laundering, we, the jury,

unanhnously find Defen7NAMDI MGBODILE


                    Guilty                  Not Guilty
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  As to Count Fourteen of the Indictment, Money Laundering, we, the jury,

unanhnously find Defend/DI MGBODILE


                    Guilty                  Not Guilty

  As to Count Fifteen of the Indictment, Money Laundering, we, the jury,

unanimously find Defend~DI MGBODILE


                    Guilty                  Not Guilty

  As to Count Sixteen of the Indictment, Money Laundering, we, the jury,

unanimously find Defendant NNAMDI MGBODILE
                       /
                    Guilty                  Not Guilty

  As to Count Seventeen of the Indictment, Money Laundering, we, the jury,

unanimously find Defend/AMDI MGBODILE


                    Guilty                  Not Guilty

  As to Count Eighteen of the Indictment, Conspiracy to Commit Bank Fraud,

we, the jury, unanimously/efendant NNAMDI MGBODILE


                    Guilty                  Not Guilty
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   As to Count Nineteen of the Indictment, Attempted Money Laundering, we,

the jury, unanimously   fin/dant   NNAMDI MGBODILE


                     Guilty                 Not Guilty

   As to Count Twenty of the Indictment, Attempted Money Laundering, we,

the jury, unanimously fin/ndant NNAMDI MGBODILE


                     Guilty                 Not Guilty



SO SAY WE ALL.

      Signed and dated at the United States Courthouse, Atlanta, Georgia,

this l'2__ day of   /vJ .!:l: f    ,2021.
   Foreperson' s Signature:             --=-~~:!..          ~
   Foreperson's Printed Na                                  He I l
